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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF CONNECTICUT


 MILTON AL STEWART, Acting Secretary
 of Labor, United States Department of
 Labor, 1

                                Plaintiff,
                                                                   Civil Action No. 3:21-cv-00204-SRU
                  v.
                                                                   February 18, 2022
 LAZY DOG MANAGEMENT, LLC d/b/a
 THE OLE DOG TAVERN, CHUBBYLOVE,
 LLC d/b/a CHUBBY’S, CHRISTOPHER
 DELMONICO, and NIALL O’NEILL,

                                Defendants.


             JOINT MOTION TO APPROVE CONSENT JUDGMENT AND ORDER

         Plaintiff Secretary of Labor, United States Department of Labor, and Defendants Lazy

Dog Management, LLC d/b/a The Ole Dog Tavern, ChubbyLove, LLC d/b/a Chubby’s,

Christopher Delmonico, and Niall O’Neill hereby move the Court to approve the Consent

Judgment and Order attached hereto as Exhibit 1.




         1
          Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Secretary of Labor Martin J. Walsh is
automatically substituted as the proper Plaintiff in this case. For ease of reference, the Secretary and his pertinent
predecessors will be referred to herein as the “Secretary” or “Plaintiff.”
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Respectfully submitted,

         For the Secretary:                                        For All Defendants:

            Seema Nanda
            Solicitor of Labor                                      /s/ Christopher M. Hodgson
                                                                    Christopher M. Hodgson
            Maia S. Fisher                                          Bar No. ct00574
            Regional Solicitor                                      chodgson@berchemmoses.com 2
                                                                    Richard J. Buturla
            Mark A. Pedulla                                         Bar No. ct05967
            Wage and Hour Counsel                                   rbuturla@berchemmoses.com

            /s/ Emily V. Wilkinson                                  Berchem Moses PC
            Emily V. Wilkinson                                      75 Broad Street
            Trial Attorney                                          Milford, CT 06460
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            U.S. Department of Labor                                Attorneys for Defendants
            Attorneys for Plaintiff
                                                                    Date: February 18, 2022
            Post Office Address:
            U.S. Department of Labor
            Office of the Solicitor
            John F. Kennedy Federal Building
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            Boston, MA 02203
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            Date: February 18, 2022




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           As required by Section XI.D of the Electronic Filing Policies and Procedures for the United States
District Court for the District of Connecticut, Attorney Christopher M. Hodgson hereby gives his consent to attorney
Emily V. Wilkinson to electronically file this document with his electronic signature.

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                                   Certificate of Service


        I hereby certify that on February 18, 2022, the foregoing Joint Motion to Approve
Consent Judgment and Order was filed electronically in the CM/ECF system and served on all
registered participants as identified on the Notice of Electronic Filing.


                                                  /s/ Emily V. Wilkinson
                                                  Emily V. Wilkinson
